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                  UNITED STATES DISTRICT COURT SOUTHERN INDIANA

CORPUZ, NINA -VS- BRIDGESTONE-FIRESTONE INC                                             IP06-C-5833 -B/S

                                                              DEMAND
     FILED        CLOSED      NATR SUIT       JURY?                           JUDGE     MAGISTRATE
                                                               ($1000)
   12/11/2006      N/A            355            Y                0           BARKER       STINSON

CAUSE: TORTS-PERSONAL INJURY; Motor Vehicle Product Liability


CORPUZ, NINA                                         MICHAEL S BROWN
plaintiff                                            CALIFORNIA LAWYERS GROUP
                                                     16601 VENTURA BLVD SUITE 204
                                                     ENCINO, CA 91316
                                                     (818)981-3712
MASTER DOCKET 00-9374
plaintiff
SD/CA 3:06-1965
plaintiff
V.
BRIDGESTONE-FIRESTONE INC                            MARK MERKLE
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BRIDGESTONE CORPORATION                              THOMAS G STAYTON
defendant                                            BAKER & DANIELS
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FORD MOTOR COMPANY                                   RANDALL RIGGS
defendant                                            LOCKE REYNOLDS LLP
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                                                           SAN DIEGO, CA 92101
                                                           (619)236-9600


  DATE        NR.                                           PROCEEDINGS



 12/11/2006   1     ORDER -Recv'd Certified Order from the Judicial Panel on MDL re: MDL-1373 Order Lifting Stay
                    of Conditional Transfer Order transferring action from the SD/CA to the SD/IN Indpls Division
                    (3643) eod 12/13/06 [CBU]

 12/13/2006   2     LETTER requesting the record be sent to the SD/IN eod 12/14/06 [CBU]

 01/03/2007   3     RECEIPT of the original record from the Southern District of California (3673) eod 01/04/07 [CBU]

 01/08/2007   4     DEMAND FOR JURY TRIAL c/s PLTF (3679) eod 01/09/07 [CBU]

 01/22/2007   5     Motion to substitute counsel c/s DEFT-Firestone (3705) eod 01/23/07 [CBU]

 01/23/2007   6     ORDER grants the substitution of counsel for Firestone cm VSS (3708) eod 01/24/07 [CBU]

 01/29/2007   0     REASSIGNED from Mag SHIELDS to Mag STINSON eod 01/29/07 [CBU]

 02/05/2007   7     MOTION FOR TIME TO extend Deadlines (Agreed) (3727) c/s - JOINT Parties eod 02/07/07
                    [MAC]

 02/08/2007   8     ORDER GRANTS Agreed Motion For Time To Extend Deadlines - see order - (3728) JMS c/m mri
                    eod 02/09/07 [MRI]

 10/09/2007   9     MOTION FOR TIME TO extend deadlines (agreed) c/s DEFT-Firestone (3863) eod 10/10/07
                    [CBU]

 10/23/2007   10    ORDER approves amended case deadlines cm JMS (3867) eod 10/23/07 [CBU]

 12/18/2007   11    MOTION FOR TIME TO extend deadlines (agreed-tendered) c/s DEFT-Firestone (3886) eod
                    12/20/07 [CBU]

 12/21/2007   12    ORDER -amended re case deadlines cm SEB (3889) eod 12/21/07 [CBU]

 02/19/2008   13    Motion to compel production of tire, vehicle and related components and for sanctions c/s DEFT-
                    Firestone (3908) eod 02/20/08 [CBU]

 02/19/2008   14    BRIEF in support of motion to compel and for sanctions c/s DEFT-Firestone (3909) eod 02/20/08
                    [CBU]

 03/11/2008   15    Response to motion to compel (notice of opposition) c/s PLTF (3916) eod 03/13/08 [CBU]

 03/11/2008   16    Brief in support of Response to motion to compel c/s PLTF (3917) eod 03/13/08 [CBU]

 03/19/2008   17    MOTION FOR TIME TO respond to pltfs opposition to motion to compel production of tire, vehicle
                    and related components and for sanctions c/s DEFT-Firestone (3920) eod 03/20/08 [CBU]




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 03/20/2008   18   ORDER grants deft-Firestone to and including 3/30/08 to file their reply brief in support of its
                   motion to compel cm SEB (3922) eod 03/24/08 [CBU]

 03/31/2008   19   Reply to pltfs opposition to motion to compel production of subject tire and request for monetary
                   sanctions c/s DEFT-Firestone (3932) eod 03/31/08 [CBU]

 04/21/2008   20   ORDER grants motion to compel in part (S.O.) cm JMS (3941) eod 04/21/08 [CBU]

 05/15/2008   21   Motion for clarification of order c/s DEFT-Firestone (3967) eod 05/19/08 [CBU]

 05/20/2008   22   JOINDER in Firestones request for clarification of order c/s DEFT-Ford (3971) eod 05/21/08 [CBU]

 05/20/2008   23   DECLARATION of Robert Shields in support of joinder in Firestones request for clarification of
                   order c/s DEFT-Ford (3972) eod 05/21/08 [CBU]

 06/05/2008   24   ENTRY DENIES as MOOT Firestone North American Tire, LLC's Request to shorten briefing
                   schedule (3984) (Marginal notation). cm JMS eod 06/06/08 [MAC]

 06/05/2008   25   ORDER on Firestone North American Tire, LLC's Request for Clarification of Order (See order for
                   deadlines). (3985) cm JMS eod 06/06/08 [MAC]

 06/09/2008   26   MOTION TO COMPEL production of subject vehicle, request for monetary sanctions and request
                   for relief from expert disclosure deadlines c/s DEFT-Firestone (3986) eod 06/10/08 [CBU]

 06/11/2008   27   ENTRY on Joinder in Request For Clarification of Order - On June 5, 2008, the magistrate judge
                   granted Deft Bridgestone Firestone's Request for Clarification of Order. As Deft Ford Motor Co had
                   also joined in that motion by its filing of May 20, 2008, the magistrate judge's order granting the
                   Request for Clarification of Order (which by its terms set deadlines for all defts) is also specifically
                   GRANTED with respect to FMC. All deadlines enumerated in the order, therefore, are applicable to
                   all Defendants. (3990) JMS c/m mri eod 06/11/08 [MRI]

 06/13/2008   28   ENTRY REGARDING MOTION TO COMPEL - Defts BSFS filed a Motion to Compel Production
                   of Subject Vehicle, Request for Monetary Sanctions and Request for Relief from Expert Disclosre
                   Deadlines on 06/09/08. Firestone asks the Court to order Pltf to permit FS to inspect the subject
                   vehicle on 06/20/08. Because that date is fast approaching, and expedited briefing schedule is
                   necessary. Therefore, pltf shall file her resp to the motion no later than noon, Indianapolis time,
                   Tuesday 06/17/08. Firestone shall file its reply no later than noon, Wed, 06/18/08. Firestone should
                   address in its reply whether the current request for a 60 day ext of the expert deadlines is moot given
                   the Court's recent ruling on it Request For Clarification. (3992) JMS c/m and faxed mri eod
                   06/13/08 [MRI]

 06/17/2008   29   NOTICE OF OPPOSITION TO MOTION TO COMPEL - PLTFS c/s (3993) eod 06/17/08 [MRI]

 06/18/2008   30   REPLY to pltf's Opposition to Motion to Compel Production of subject vehicle, Request for
                   Monetary Sanctions and Request for Relief from Expert Disclosure Deadlines c/s - DEFT Firestone
                   (3994) eod 06/18/08 [MAC]

 06/19/2008   31   ORDER GRANTING Deft Bridgestone Firestone North American Tire LLC's Motion to Compel
                   Production of Subject Vehicle, Request for Monetary Sanctions and Request for Relief From Expert
                   Disclosure Deadlines (SEE ORDER). JMS c/m and faxed mri (3995) eod 06/19/08 [MRI]

 12/12/2008   32   ORDER TRANSFERRING CASE TO CM/ECF, directing compliance with local e-filing rules and
                   procedures, and discharging liaison counsel for responsibility of serving case filing and court order
                   in CM/ECF cases cm SEB (4162) eod 12/12/08 [CBU]




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